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6
7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )          NO. 2:06-cr-00200-MCE
                                   )
12                  Plaintiff,     )
                                   )          STIPULATION AND ORDER
13                                 )          SETTING NEW TRIAL DATE
          v.                       )
14                                 )
                                   )          Date: August 25, 2008
15   DONALD A. EDGECOMB,           )          Time: 9:00 a.m.
                                   )          Hon. Morrison C. England, Jr.
                    Defendant.     )
16   ______________________________)
17         It is hereby stipulated and agreed, by and between the
18   defendant, Donald A. Edgecomb, by and through counsel, Bruce
19   Locke, and the United States, through its counsel, Assistant
20   United States Attorney Anne Pings, to vacate the trial
21   confirmation date of February 7, 2008, and the trial date of
22   March 3, 2008, and to set a new trial confirmation date of July
23   31, 2008, and a new trial date of August 25, 2008.         These
24   proposed dates were approved by the Court's deputy clerk.
25   ///
26   ///
27   ///
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1         The government has informed the defendant that it intends to
2    seek a superseding indictment and the defendant has informed the
3    government that it intends to file a writ ad testificandum to
4    procure the presence of witness(es) currently incarcerated.           In
5    light of the foregoing, both parties have agreed that they need
6    additional time to prepare for trial.
7         The parties agree that time should be excluded under the
8    Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(iv) (preparation of
9    counsel) until August 25, 2008, in that the ends of justice
10   served by allowing defendant's counsel time to procure the
11   presence of witnesses, conduct further factual investigation
12   regarding the superseding indictment, and to prepare meaningfully
13   for trial outweigh the best interest of the public and the
14   defendant in a speedy trial.
15                                    Respectfully submitted,
16                                    McGREGOR W. SCOTT
                                      United States Attorney
17
                                      /s/ Anne Pings
18
                                      ANNE PINGS
19                                    Assistant United States Attorney
20
                                      /s/ Anne Pings
21
                                      For Bruce Locke
22                                    Counsel for Defendant Edgecomb
23
          IT IS SO ORDERED.
24
25   Dated: January 30, 2008

26                                    _____________________________
27                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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